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                      EXHIBIT A
  Case 2:20-cv-01068-FLA-PVC                       Document 18-1               Filed 03/23/20           Page 2 of 2 Page ID
                                                          #:243

  From: info@ord.uscourts.gov
Subject: Activity in Case 3:18-cv-02187-IM Lundbom v. Schwan's Home Service, Inc. et al Order on motion for stay
   Date: March 23, 2020 at 6:45 PM
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                                                               District of Oregon

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        Case Name:       Lundbom v. Schwan's Home Service, Inc. et al
        Case Number:     3:18-cv-02187-IM
        Filer:
        Document Number: 77(No document attached)

       Docket Text:
       ORDER by Judge Karin J. Immergut Defendants' Motion for Stay of Case pending the Supreme Court's
       Decision in Barr v. Am. Assoc. Political Consultants, Sup. Ct. Case No. 19-631 [74] is DENIED. This
       Court has determined that oral argument will not help in the resolution of the issues before the Court on
       this motion. See LR 7-1(d). Therefore, requests for oral argument are denied. (jy)

       3:18-cv-02187-IM Notice has been electronically mailed to:

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       3:18-cv-02187-IM Notice will not be electronically mailed to:
